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 1   JENNIFER C. NOBLE, ESQ., CSBN 256952
     WISEMAN LAW GROUP, P.C.
 2      1477 Drew Avenue, Suite 106
        Davis, California 95618
 3      Telephone: 530.759.0700
        Facsimile:    530.759.0800
 4
     Attorney for Defendant
 5
     LEONARD WALTER
 6

 7
                                  IN THE UNITED STATES DISTRICT COURT

 8
                               FOR THE EASTERN DISTRICT OF CALIFORNIA

 9
                                              SACRAMENTO DIVISION

10   UNITED STATES OF AMERICA,                        ) Case No. 2:14-CR-0210 JAM
                                                      )
11
                                      Plaintiff,      )
                                                      )
12                                                    ) STIPULATION AND ORDER TO
             vs.                                      ) CONTINUE STATUS CONFERENCE
13                                                    )
     JAMES CLINE,                                     )
14
     LEONARD WALTER,                                  )
                                                      )
15   MICHAEL WRIGHT,                                  )
                                      Defendants.
16

17            IT IS HEREBY STIPULATED by the parties, the UNITED STATES OF
18   AMERICA, through undersigned counsel, Jason Hitt, and Danny Brace, attorney for
19   James Cline; and Jennifer C. Noble, attorney for Leonard Walter, that the Status
20   Conference set for Tuesday, September 15, 2015, be continued to Tuesday, October 27,
21   2015.
22            Counsel for defendants need additional time to continue investigate potential
23   issues and defenses, conduct research related to the charges, consult with their clients
24   regarding potential resolutions, to prepare pretrial motions, and to otherwise prepare
25   for trial. The government does not object to the continuance.
26            Therefore, counsel for the parties stipulate and agree that the interests of justice
27   served by granting this continuance outweigh the best interests of the defendants and
28   the public in a speedy trial. 18 U.S.C. 3161(h)(7)(A) (continuity of

                                                       1
     Stipulation and Proposed Order                                       Case No. 2:14-CR-0210 JAM
     To Continue Status Conference
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 1   counsel/reasonable time for effective preparation) and Local Code T4, and agree to
 2   exclude time from the date of the filing of the order until the date of the status
 3   conference, Tuesday, October 27, 2015.
 4

 5   Dated: September 11, 2015                         Respectfully submitted,
 6
                                                       By: /s/ Jennifer C. Noble
 7                                                     JENNIFER C. NOBLE
                                                       Attorney for Defendant
 8                                                     LEONARD WALTER
 9
     Dated: September 11, 2015                         By: /s/ Danny Brace
10                                                     DANNY BRACE
                                                       Attorney for Defendant
11                                                     JAMES CLINE
12
     Dated: September 11, 2015                         Benjamin B. Wagner
13                                                     United States Attorney
                                                       By: /s/ Jason Hitt
14                                                     JASON HITT
                                                       Assistant U.S. Attorney
15

16

17
                                                ORDER
18

19            GOOD CAUSE HAVING BEEN SHOWN, and pursuant to the stipulation of the

20   parties, the Status Conference presently set for September 15, 2015, in the above-

21   captioned case, is rescheduled for October 27, 2015.

22   IT IS SO ORDERED.

23
     Dated: 9/14/2015
24                                                     /s/ John A. Mendez_________
                                                       HON. JOHN A. MENDEZ
25
                                                       U.S. DISTRICT COURT JUDGE
26

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     Stipulation and Proposed Order                                     Case No. 2:14-CR-0210 JAM
     To Continue Status Conference
